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                                         PROOF OF SERVICE
         (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                       (name of individual and title, if any)

                 (date)


                                                                (place)

                                                                             (date)

                                                                                             (name)



(date)

                                   (name of individual)

                                                                    (name of organization)

                                                                             (date)




          (specify):




                                                                                Server’s signature



                                                                              Printed name and title




                                                                                 Server’s address
